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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                              STATE SBORO DIVISION

JEFFERY JACKSON,

          Movant,
V.                                                  Case No. CV614-052
                                                             CR612-018
UNITED STATES OF AMERICA,

          Respondent.

                       REPORT AND RECOMMENDATION

          Jeffery Jackson pled guilty to conspiring to possess with intent to

distribute and to distribute controlled substances. (Cr. doc. 506.)' In

doing so, he waived both his direct appeal and collateral review rights.'


          1
        Unless otherwise noted, citations are to the docket in Jackson's civil § 2255
case, number CV614-052. "Cr. doe." refers to documents filed under his criminal
case, CR612-018. Additionally, page references are to the CMIECF screen page
rather than the referenced document's own internal pagination.
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         The plea agreement states:

     To the maximum extent permitted by federal law, the defendant voluntarily
     and expressly waives the right to appeal the conviction and sentence and the
     right to collaterally attack the sentence in any post-conviction proceeding,
     including a §2255 proceeding, on any ground, except that: the defendant may
     file a direct appeal of his sentence if it exceeds the statutory maximum; and
     the defendant may file a direct appeal of his sentence if, by variance or upward
     departure, the sentence is higher than the advisory sentencing guideline range
     as found by the sentencing court. The defendant understands that this Plea
     Agreement does not limit the government's right to appeal, but if the
     government appeals the sentence imposed, the defendant may also file a direct
     appeal of the sentence.
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(Cr. doc. 165.) Despite the double waiver, he has returned to this Court

seeking 28 U.S.C. § 2255 relief. (Doe. 1.) His motion should be denied.

I. ANALYSIS

      Jackson was a cog in a vast drug distribution machine. (PSI at 6.)

He and 29 other defendants sold large quantities of powder and crack

cocaine, ecstasy, and marijuana.         (Id.) Cell phone intercepts show that

between just July and September of 2011, Jackson sold at least 1.4

kilograms of cocaine to co-defendant Tellas Levallas Kennedy. (Id. at 7.)

There were many other drug-related conversations intercepted, but no

specific drug quantities were discussed.             (Id.)    After his arrest, he

admitted to authorities that he had distributed more than 500 grams of

powder and crack cocaine to Kennedy. (Id. at 9.) Under the indictment,

he faced life imprisonment.           (Cr. does. 3 & 4.) His acceptance of

responsibility, taken along with a favorable plea arrangement, resulted

(Cr. doc. 992 at 8 (emphasis added).) In exchange for his plea to a lesser included
conspiracy charge, he avoided conviction for possession with intent to distribute
cocaine and several charges of using a cellular phone in furtherance of the
conspiracy. Given the scope of the drug operation (after a single traffic stop, police
obtained a quarter-kilogram of cocaine a co-defendant had tossed from his vehicle
after meeting with Jackson), his maximum sentence under the lesser-included
conspiracy charge was forty years. (Presentence Investigation Report ("PSI") at 17.)
His plea ultimately resulted in a 144-month sentence (cr. doc. 952), which was well
below the recommended United States Sentencing Guideline ("USSG") range of 188-
235 months (PSI at 17). Additionally, the government did not appeal his sentence.
As such, he has not shown that he is subject to any sort of exception to the collateral
waiver.
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in a sentence of only 144 months, well below even the 188-235 month

guideline range. (Cr. doe. 952; PSI at 17.) Nevertheless, in violation of

his plea agreement and in contravention of common sense, he has filed a

28 U.S.C. § 2255 motion that, if granted, would likely result in a far

longer sentence. (Doc. 1.)

     Jackson claims that the district court lacked subject matter

jurisdiction to hear the case because the grand jury did not properly pass

upon his indictment.     (Id. at 7-13.) He also claims that counsel was

ineffective for failing to ensure that the trial judge accepted the plea and

the plea agreement. (Id. at 13-19.) He swears under 28 U.S.C. § 1746

that he does not recall, and that the record does not show, that the plea

was accepted or plea agreement signed, so he has thus "incurred no .

conviction." (Id. at 16-17.)

      Both claims are baseless. The docket reflects that the grand jury

returned a true bill, signed by the jury's foreman, several assistant

United States Attorneys, and the United States Attorney for the

Southern District of Georgia. (Cr. doe. 3 at 26.) His evidentially

unsupported claim that the prosecuting attorneys "feigned grand jury

endorsement" is belied by the record. Furthermore, the transcript of his


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March 12, 2013 change of plea hearing shows without question that

Jackson pled guilty of his own volition, under no coercion from the

government or his retained attorney, the judge accepted the plea, and

Jackson waived his right to appeal the sentence or pursue collateral

relief. (Cr. doc. 1032 at 4-5, 13, 24-31, 38 ("The plea of guilty is

accepted.").) At sentencing, the judge acknowledged Jackson's

"forthright" testimony against another defendant where he "withstood

aggressive. . . demeaning cross-examination," and noted that Jackson's

statement at sentencing, accepting responsibility for his crimes, to be

"one of the more refreshing statements anyone has ever made to me."'

(Cr. doe. 1033 at 12, 14-15.) Based on this cooperation and

"forthrightness," the judge granted the government's USSG § 5k1.1

    Specifically, Jackson stated:

   Well, Your Honor, I'd just like to say I apologize to you. I apologize to the staff,
   the community.

   Like I told Kevin Waters, you know, it's just business, you know. When you do
   wrong, you know, you have to accept your responsibility.

   I appreciate my family. I appreciate my sister-in-law for sticking her neck out.
   I appreciate my attorney. But overall, you know what I'm saying, I do owe,
   you know what I'm saying, the United States punishment for my actions, but
   at the end of the day, you know what I'm saying, I ask that, you know what
   I'm saying, I have mercy, you know what I'm saying, from the Court, and if
   anything that I could do, I would be willing to do.

(CR. doe. 1033 at 14-15.)
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motion and departed, in his own words, "tremendously below what the

sentence would have been." (Id. at 16.) The judge formally accepted the

plea agreement on January 13, 2014. (Cr. doc. 992 at 12 (while the

signature block shows 2013, it is a ministerial error, as the docket clearly

shows that the plea acceptance was signed and filed on January 13,

2014).)

       Jackson's § 2255 motion is anything but forthright. It is plain that

he has lied to the Court in a sworn statement.' He compounds this

behavior by accusing the Assistant United States Attorney who prepared

the government's response -- the same AUSA who moved the Court to

give Jackson § 5K1.1 relief (cr. doc. 1033 at 3) and declined to seek an 18

U.S.C. § 851 enhancement based upon his criminal history -- of

"scandalous and vexatious" behavior and of wasting the Court's time


      Lying under oath, either live or "on paper," is a criminally prosecutable offense.
See United States v. Roberts, 308 F.3d 1147, 1155 (11th Cir. 2002) (defendant's falsely
subscribing to statement in his habeas petition that he had not previously filed a §
2255 motion was "material" for purposes of perjury prosecution; statement fooled the
clerk of the court into accepting the "writ" for filing, and led the magistrate judge to
consider its merits until she discovered that the "writ" was a successive § 2255
motion in disguise); United States v. Dickerson, No. CR608-36, doc. 1 (S.D. Ga. Dec.
11 ) 2008) (§ 2255 movant indicted for perjury for knowingly lying in his motion
seeking collateral relief from his conviction); id., doc. 47 (guilty verdict), cited in Irick
v. United States, 2009 WL 2992562 at * 2 (S.D. Ga. Sept. 17, 2009 (unpublished); see
also Colony Ins. Co. v. 9400 Abercorn, LLC, 866 F. Supp. 2d 1376, 1378 n. 2 (S.D. Ga.
2012).

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through "chicanery." (Doc. 6 (motion to strike the government's

response).) Jackson, however, has shown no violation of the Constitution

or federal law that would allow the Court to give this ungrateful man the

relief he requests.

      Not only are Jackson's claims without merit, he has waived the

right to even file a § 2255 motion. (Cr. doc. 1032 at 27-28, 30, 33; Cr. doe.

1033 at 18-19.) "A plea agreement is 'a contract between the

Government and a criminal defendant."          Thompson v. United States,

353 F. App'x 234, 235 (11th Cir. 2009) (quoting United States v. Howle,

166 F.3d 1166 ) 1168 (11th Cir. 1999)). Hence,

      it should be given the interpretation that the parties
      intended. United States v. Rubbo, 396 F.3d 1330, 1335 (11th
      Cir. 2005)). . . . "[T]he defendant's knowledge and
      understanding of the sentence appeal waiver is one of the
      components that constitutes the 'core concern' of the
      defendant's right to be aware of the direct consequences of his
      guilty plea." United States v. Bushert, 997 F.2d 1343, 1351
      (11th Cir. 1993) (internal quotation marks omitted). To
      demonstrate that a sentence-appeal waiver is sufficiently
      knowing and voluntary to be enforceable, the government
      must show that either (1) the district court specifically
      questioned the defendant concerning the sentence appeal
      waiver during the colloquy; or (2) it is manifestly clear from
      the record that the defendant otherwise understood the full
      significance of the waiver. Id.
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Thompson, 353 F. App'x at 235; United States v. Ruff, 2011 WL 205382

at *1 (11th Cir. Jan. 5, 2011). As to § 2255 collateral bars,

           a minimum, the would-be petitioner must know at the
     time of the guilty plea that the right to federal habeas review
     exists, and he must realize he is giving up that right as part of
     his plea bargain." Allen v. Thomas, 161 F.3d 667, 670 (11th
     Cir. 1998). When a valid sentence-appeal waiver containing
     express language waiving the right to attack a sentence
     collaterally is entered into knowingly and voluntarily, it will
     be enforceable and serve to prevent a movant from
     collaterally attacking a sentence on the basis of ineffective
     assistance of counsel. [United States v.] Williams, 396 F.3d
     [1340, 1342 (11th Cir. 2005)].

Thompson, 353 F. App'x at 235.

      The record shows that Jackson knowingly and voluntarily entered

into his plea-waiver. The waiver itself explicitly references § 2255

proceedings and notes that Jackson would be forever barred from

challenging his conviction and sentence under that statute. (Cr. doc. 992

at 8.) He signed the plea agreement and initialed every page (id. at 11),

and he testified at the change of plea hearing that he had read the plea

agreement, reviewed it with counsel, and understood it. (Cr. doc. 1032 at

26). Moreover, the judge discussed the appeal and collateral waiver at

length during movant's Rule 11 hearing (id. at 28-29, 30, 33) and at

sentencing. (Cr. doc. 1033 at 18-19).

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      Jackson waived all of his claims by accepting the plea agreement's

double waiver.' Thompson v. United States, 353 F. App'x 234, 235 (11th

Cir. 2009); United States v. Orozc-Picazo, 391 F. App'x 761, 771 (11th Cir.

2010) (defendant's appeal waiver in pleading guilty to drug and gun

conspiracy charges precluded appellate review of his claim that district

court erred in imposing consecutive sentences; district court questioned

defendant concerning appeal waiver during plea colloquy, and it did not

impose sentence that was higher than that called for by advisory

guidelines). And he has not raised any non-fraudulent claims directly

attacking the validity of the guilty-plea agreement. See Patel v. United

States, 252 F. App'x 970, 974-75 (11th. Cir. 2007) (ineffective assistance

of counsel claim figuring into validity of defendant's guilty plea is not

barred by double waiver) (citing Williams, 396 F.3d at 1342 n.2) ("there

may be a distinction between a § 2255 claim of ineffective assistance in

entering or negotiating the plea versus a claim of ineffectiveness at

sentencing or a claim challenging the validity of the plea or agreement.");

United States v. Smith, 759 F,3d 702, 708 (7th Cir. 2014) ("Smith


     He also waived any pre-plea claims simply by pleading guilty. Tollett v.
Henderson, 411 U.S. 258, 267 (1973); United States v. Pierre, 120 F.3d 1153, 1155
(11th Cir. 1997)
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knowingly and voluntarily waived his appellate rights, including his right

on appeal to contend that his counsel below was ineffective as to any

matter other than the waiver and his negotiation of it.") (emphasis

added); Holland v. United States, 2014 WL 5241531 at *2..3 (S.D. Ga. Oct

14, 2014).

II. CONCLUSION

     Jeffery Jackson's § 2255 motion (doe. 1023) should be DENIED

and the Government's motion to dismiss (doe. 1038) should be

GRANTED. Jackson's "Motion to Strike" the government's dismissal

motion (doe. 6) is DENIED as frivolous. The Court also GRANTS the

government's request to file its response out of time. (Doe. 3.)

     Applying the Certificate of Appealability ("COA") standards, the

Court discerns no COA-worthy issues at this stage of the litigation, so no

COA should issue. 28 U.S.C. § 2253(c)(1). And, as there are no non-

frivolous issues to raise on appeal, an appeal would not be taken in good

faith. Thus, in forma pauperis status on appeal should likewise be

DENIED. 28 U.S.C. § 1915(a)(3).

    SO REPORTED AND RECOMMENDED this /0 day of
November, 2014.
                                         UNITED STA1S MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA
